      Case 4:18-cv-01609 Document 151 Filed on 01/19/24 in TXSD Page 1 of 3
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                    ENTERED
                          UNITED STATES DISTRICT COURT                          January 22, 2024
                                                                               Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

KAREN MINIEX, UNITED STATES OF              §
AMERICA and MICHAEL STEWART,                §
                                            §
        Plaintiffs,                         §
                                            §
VS.                                         §              Civil Case No. 4:18-CV-01609
                                            §
HOUSTON HOUSING AUTHORITY,                  §
CITY OF HOUSTON, J. ALLEN                   §
MANAGEMENT CO., INC., ALLIED                §
ORION GROUP, LLC, ORION REAL                §
ESTATE SERVICES TEXAS, LLC, THE             §
LYND COMPANY and TARANTINO                  §
PROPERTIES, INC.,                           §
                                            §
        Defendants.                         §

                                SCHEDULING ORDER

       The disposition of this case will be controlled by the following schedule:

1.     September 27, 2024         EXPERTS (other than attorney’s fees)
                                  The party with the burden of proof on an issue must
                                  designate expert witnesses in writing and provide the
                                  required report under Rule 26(a)(2).

       October 25, 2024           The opposing party must designate expert witnesses in
                                  writing and provide the required report under Rule
                                  26(a)(2).

2.     January 17, 2025           COMPLETION OF DISCOVERY
                                  Discovery requests are not timely if the deadline for
                                  response under the Federal Rules of Civil Procedure
                                  falls after this date. Parties may continue discovery
                                  beyond the deadline by agreement.

3.     February 7, 2025           PRETRIAL MOTIONS DEADLINE
                                  (except for motions in limine)
                                  No motion may be filed after this date except for good
                                  cause.
     Case 4:18-cv-01609 Document 151 Filed on 01/19/24 in TXSD Page 2 of 3




4.     February 6, 2025            MEDIATION OR SETTLEMENT CONFERENCE
                                   Mediation or other form of dispute resolution must be
                                   completed by this deadline.

5.     April 24, 2025              JOINT PRETRIAL ORDER AND MOTION IN
                                   LIMINE DEADLINE
                                   The Joint Pretrial Order will contain the pretrial
                                   disclosures required by Rule 26(a)(3) of the Federal
                                   Rules of Civil Procedure. Use the forms provided on
                                   the Court’s website. https://www.txs.uscourts.gov/
                                   page/united-states-district-judge-drew-b-tipton.
                                   Plaintiff is responsible for timely filing the complete
                                   Joint Pretrial Order. Failure to do so may lead to
                                   dismissal or other sanction in accordance with the
                                   applicable rules. Exhibit lists, witness lists and
                                   proposed deposition excerpts may not be amended or
                                   supplemented after this date unless by agreement.
                                   Objections to any of these shall be filed no later than
                                   three business days after this date and responses to
                                   those objections shall be filed no later than six business
                                   days from this date.

6.     May 8, 2025                 DOCKET CALL
                                   Docket Call will be held at 2:00 p.m. The Court will not
                                   consider documents filed within seven days of docket
                                   call. The Court may rule on pending motions at docket
                                   call and will set the case for trial as close to docket call
                                   as practicable.

        Any party wishing to make a discovery or scheduling motion must obtain
permission before the submission of motion papers. This includes any motion to compel,
to quash, for protection, or for extension. Lead counsel must personally confer on all
discovery and scheduling disputes as a final attempt at resolution prior to involving the
Court. To obtain permission, the party seeking relief must submit a letter not exceeding
two pages. Identify the nature of the dispute, outline the issues, and state the contested
relief sought. Describe the conference between lead counsel and summarize the results.
Send a copy to all counsel and unrepresented parties. The opposing party should
promptly submit a responsive letter of similar length identifying any disagreement. Do
not submit a reply letter. The foregoing letters should be sent by email to the Court’s case
manager, Kellie Papaioannou at Kellie_Papaioannou@txs.uscourts.gov.

       It is SO ORDERED.




                                             2
Case 4:18-cv-01609 Document 151 Filed on 01/19/24 in TXSD Page 3 of 3




 Signed on January 19, 2024.


                                      ___________________________________
                                                DREW B. TIPTON
                                      UNITED STATES DISTRICT JUDGE




                                  3
